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                                                    The Clerk of the Court is
                                                    directed to close the case.
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